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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    ZACHARY WAYNE WHITE,                             §
                                                     §
            Plaintiff,                               §
.                                                    §
    v.                                               §
                                                     §
    FIFTH THIRD BANK, NATIONAL                       §                          Case No. 4:23-CV-847
    ASSOCIATION, et al.,                             §
                                                     §
            Defendants.                              §

                                         ORDER OF RECUSAL

            The undersigned judge hereby recuses herself with regard to the above-entitled and numbered

    civil action.

            IT IS SO ORDERED.

            SIGNED this 23rd day of October, 2023.




                                          ____________________________________
                                              AILEEN GOLDMAN DURRETT
                                          UNITED STATES MAGISTRATE JUDGE
